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                      IN THE UNITED STATES DISTRICT COURT 17                  OCT   2[   AM    8 3Q
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION          LC
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DAN SERGIO DE LA CRUZ,
              Plaintiff,

vs.                                                CIVIL ACTION NO. 1:17-cv-00163-SS

THE BANK OF NEW YORK AS
TRUSTEE FOR THE
CERTIFICATEHOLDERS CWABS, INC.
ASSET-BACKED CERTIFICATES,
SERIES 2005-9 and DITECH
FINANCIAL, LLC
            Defendants.


           ORDER GRANTING DEFENDANTS' UNOPPOSED MOTION TO
                  WITHDRAW AND SUBSTITUTE COUNSEL


       Came to be considered in the above-styled-and-numbered cause, Defendants The Bank of

New York, as Trustee of the Certificateholders CWABS, Inc., Asset-Backed Certificates Series

2005-9 ("BONY") and Ditech Financial LLC ("Ditech") (collectively, "Defendants") Unopposed

Motion to Withdraw and Substitute Counsel (the "Motion"). Upon consideration, the Court

finds that the Motion is well-taken and should be, and hereby is, GRANTED.

       It is therefore ORDERED that the Motion is GRANTED.

       It is FURTHER ORDERED that the present counsel of record listed below is hereby

withdrawn as counsel for Defendants in the above-styled and numbered cause:

       Marc D. Cabrera
       LOCKE LORD LLP
       2200 Ross Avenue, Suite 2800
       Dallas, Texas 75201-6776
       Telephone: (214) 740-8000
       Facsimile: (214) 740-8800




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       Daniel Durell
       LOCKE LORD LLP
       600 Congress Avenue, Suite 2200
       Austin, Texas 7870 1-3055
       Telephone: (512) 305-4700
       Facsimile: (512) 305-4800

       It is FURTHER ORDERED that the following counsel be substituted as counsel of

record for Defendants in the above-styled and numbered cause:

       Mark D. Hopkins
       Shelley L. Hopkins
       HOPKiNS LAW, PLLC
       3809 Juniper Trace, Suite 101
       Austin, Texas 78738
       Phone: (512) 600-4320
       Facsimile: (512) 600-4326

       It is FURTHER ORDERED that any and all future communications and notices to

Defendants be directed exclusively to Mark D. Hopkins and Shelley L. Hopkins, Hopkins Law,

PLLC, at the address indicated above. The docket shall be amended to reflect the withdrawal of

Marc D. Cabrera and Daniel Durell, Locke Lord LLP, as counsel for Defendants.



       Signed this the      day of     OC1.O6''           ,   2017.




                                           SAM SPARKS
                                           UNITED STATES DISTRICT JUDGE




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